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           14                          UNITED STATES DISTRICT COURT
                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
           15                               SOUTHERN DIVISION
           16      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           17      CERCACOR LABORATORIES, INC.,                  APPLE’S NOTICE OF MOTION AND
                   a Delaware corporation,                       MOTION TO STRIKE PLAINTIFFS’
           18                                                    UNTIMELY REASONABLE
                                      Plaintiffs,                ROYALTY THEORY
           19
                         v.
           20                                                    Date: Dec. 12, 2022
                   APPLE INC.,                                   Time: 1:30 p.m.
           21      a California corporation,
                                                                 Expert Discovery Cut-Off: Dec. 12, 2022
           22                         Defendant.                 Pre-Trial Conference: Mar. 13, 2023
                                                                 Trial: Mar. 27, 2023
           23
           24
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           27
           28      APPLE’S NOTICE OF MOT. TO STRIKE PLAINTIFFS’ UNTIMELY REASONABLE ROYALTY THEORY
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
Wilmer Cutler
Pickering Hale
and Dorr LLP
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           28      APPLE’S NOTICE OF MOT. TO STRIKE PLAINTIFFS’ UNTIMELY REASONABLE ROYALTY THEORY
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
Wilmer Cutler
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1014 Filed 11/14/22 Page 3 of 3 Page ID
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             1     TO THE COURT, PLAINTIFFS, AND ALL COUNSEL OF RECORD
             2           PLEASE TAKE NOTICE that on December 12, 2022, or as soon thereafter as the
             3     matter may be heard, in Courtroom 10C, located at 411 West Fourth Street, Santa Ana,
             4     California, 92701, Defendant Apple Inc. (“Apple”) will, and hereby does, move under
             5     Federal Rules of Civil Procedure 26 and 37 to strike Plaintiffs’ untimely reasonable
             6     royalty theory contained in the expert report of Jeffrey Kinrich in paragraphs 8, 195,
             7     209-224, 236-237, and 242-245, and Exhibits 7.A-B and 15.B.
             8           This motion is made following the conference of counsel pursuant to Local Rule
             9     7-3, which took place on October 28, 2022. It is supported by the accompanying
           10      Memorandum of Points and Authorities, the Declaration of Nora Passamaneck and
           11      attached Exhibits 1-13, a Proposed Order, and such other evidence or argument as may
           12      be presented at or before the hearing.
           13      Dated: November 14, 2022                 Respectfully submitted,
           14
                                                            H. MARK LYON
           15                                               BRIAN M. BUROKER
           16                                               BRIAN A. ROSENTHAL
                                                            ILISSA SAMPLIN
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           25                                               By: Mark D. Selwyn
                                                                Mark D. Selwyn
           26
           27                                               Attorneys for Defendant Apple Inc.

           28
                   APPLE’S NOTICE OF MOT. TO STRIKE PLAINTIFFS’ UNTIMELY REASONABLE ROYALTY THEORY
Wilmer Cutler
                                                           1               CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
